                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE MIDDLE DISTRICT OF TENNESSEE
                                   AT NASHVILLE

UNITED STATES                                         )
                                                      )
v.                                                    )       Case No. 3:21-mj-2786-1
                                                      )
AUSTIN KIDD                                           )

                                            ORDER

        Pending before the Court is the United States’ motion to redact complaint (Docket No. 9),

which, for the reasons stated below, is therefore GRANTED. For the reasons requested in the

motion and from the face of the original complaint, it is clear that the legitimate interests in favor

of sealing outweigh the public interest in accessing the documents. Further, the motion states that

the defendant does not oppose the filing of the redacted complaint. Accordingly, the Clerk shall

SEAL the unredacted complaint at Docket No. 1 and shall separately file the redacted complaint

and cover sheet presently found at Docket No. 9-1.

        It is SO ORDERED.


                                               _______________________________________
                                               BARBARA D. HOLMES
                                               United States Magistrate Judge




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